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Recommendation of the Council for Choices in
Health Care in Finland (PALKO / COHERE
Finland)

Medical Treatment Methods for Dysphoria Related to Gender Variance In
                            Minors
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Concepts




Suppression treatment           Pubertal suppression with GnRH analogues (drugs that inhibit
                                gonadotropin-releasing hormone activity) to halt the
                                development of secondary sex characteristics of the biological
                                sex.


Cisgender/Cis person            A person whose gender identity matches the sex determined at
                                birth (identifies, and is satisfied with, the sex determined at
                                birth and generally expresses his/her gender accordingly).



Other gender identity           A person who does not identify as a man or a woman, but
                                rather somewhere along the continuum or outside of it;
                                genderless, nonbinary, or multigendered.

Transgender                     A person whose gender identity differs from the legal and
                                biological sex determined at birth but instead aligns with the
                                opposite sex.
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1.             Basis for Preparing These Recommendations
As the number of patients, including minors, referred to the Helsinki University Hospital (HUS) and the
Tampere University Hospital (TAYS) multidisciplinary outpatient clinics for assessment and treatment of
gender dysphoria has increased, PALKO (Council for Choices in Healthcare in Finland / COHERE Finland)
decided to prepare recommendations for medical treatments of gender dysphoria, i.e., distress which is
associated with a minor’s gender variance and impairs function. Gender variance refers to a spectrum of
gender experience anywhere on the male-female identity continuum or outside it, and is not exclusively
confined to the dichotomized male/female conception of gender. Not all patients with gender variance
experience significant suffering or functional impairments, and not all seek medical treatment.


These recommendations are based on the legislation in force at the time of the adoption of the
recommendation, the available research evidence, and the clinical experience of multidisciplinary teams
with expertise in gender dysphoria assessment and treatment at HUS and TAYS. The knowledge base
supporting these recommendations is detailed in a separate Preparatory Memorandum and appendices
and includes a description of planning and implementation of medical treatments, a literature review of
medical treatments, an extensive ethical analysis, and feedback following meetings with patients and the
advocacy groups who represent them.


Finnish legislation defines the requirements for the legal gender recognition of transsexuals (Act on Legal
Recognition of the Gender of Transsexuals (Trans Act) 536/2002). The detailed requirements for providing
the assessment and treatment to enable legal gender recognition are spelled out further in a Decree of the
Ministry of Social Affairs and Health (1053/2002). The Trans Act and the related Decree apply to adults. For
those who are not of legal age, there are no laws governing the provision and needs of transgender
healthcare; however, these are subject to the Health Care Act of Finland (1326/2010), in particular section
7 (criteria for integrated care), section 7a (criteria for treatment options), section 8 (evidence-based, high
quality, safe and appropriate care) and section 10 (rationale for centralization); and also to the Constitution
of Finland (731/1999)’s section 6 on equality and section 19 on the right to adequate social and healthcare
services. Finland’s Act on the Status and Rights of Patients, (785/1992), and especially sections 5, 6, and 7,
are also relevant.
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2.             Recommendations’ Target Population
These recommendations apply to minors suffering from dysphoria related to gender variance who are seeking a
consultation regarding an evaluation of medical examination and treatment needs; the children and
adolescents may identify with the opposite sex (transgender), or may identify as genderless, non-binary, or
anywhere along or outside the male/female gender identity continuum (other gender).


     3.         Procedures Assessed

These recommendations focus on medical treatment procedures that aim to decrease suffering and functional
impairment of gender-dysphoric minors.



4.             Current Care

Cross-sex identification in childhood, even in extreme cases, generally disappears during puberty. However, in
some cases, it persists or even intensifies. Gender dysphoria may also emerge or intensify at the onset of
puberty. There is considerable variation in the timing of the onset of puberty in both sexes. The first-line
treatment for gender dysphoria is psychosocial support and, as necessary, psychotherapy and treatment of
possible comorbid psychiatric disorders.


Consultation appointments (for parents / caregivers) regarding pre-pubescent children’s cross-sex identification
or gender dysphoria are provided by the research group on the gender identity of minors at TAYS or HUS.
However, ongoing support or other treatment of psychiatric disorders are provided through the local municipal
services.


In clear cases of pre-pubertal onset of gender dysphoria that intensified during puberty, a referral can be made
for an assessment by the research group at TAYS or HUS regarding the appropriateness for puberty suppression.
If no contraindications to early intervention are identified, pubertal suppression with GnRH analogues (to
suppress the effect of gonadotropin-releasing hormone) may be considered to prevent further development of
secondary sex characteristics of the biological sex.


Adolescents who have already undergone puberty, whose gender dysphoria occurs in the absence of co-
occurring symptoms requiring psychiatric treatment, and whose experience of transgender identity failed to
resolve following a period of reflection, can be referred for assessment by the research group on the gender
identity of minors at TAYS or HUS. Hormone therapy (testosterone/estrogen and anti-androgen) can be started
after the diagnostic evaluations, but no earlier than age 16. Additionally, patients under 18 receive three to six
months of GnRH analogue treatment prior to the initiation of cross-sex hormones in order to suppress the
hormonal activity of the gonads. No gender confirmation surgeries are performed on minors.
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5.             Risks, Benefits and Uncertainty


The literature review identified two studies with the total of 271 persons diagnosed with childhood-onset
gender identity disorder and associated gender or body dysphoria that intensified after the onset of
puberty (Preparatory Memorandum Appendix 1, Tables 15 and 16, pages 46-48).


In a smaller study of 70 adolescents, puberty was suppressed with the GnRH analogue at the average age of
14.8 (12-18 years) and puberty blockade continued for an average of 2 years. During the treatment period,
the adolescents’ mood improved, and the risk of behavioral disorders diminished, but gender dysphoria
itself did not diminish, and there were no changes in body image. In a larger study consisting of 201
adolescents, 101 patients with the average age of 15.5 (12-18 years) started an 18-month psychological
supportive intervention, and, additionally at six months, pubertal development was suppressed by starting
GnRH analogue treatment. The other cohort of 100 only received psychological supportive intervention for
18 months. In both groups, statistically significant increases in global psychosocial functioning were found
at 12 and 18 months; among those having received psychological intervention alone, the improvement in
global functioning was already significant at the 6-month mark. Both studies lack long-term treatment
follow-up into adulthood.


A recent Finnish study, published after the completion of this literature review, reported on the effect of
initiating cross-sex hormone therapy on functioning, progression of developmental tasks of adolescence,
and psychiatric symptoms. This study found that during cross-sex hormone therapy, problems in these
areas did not decrease.


Potential risks of GnRH therapy include disruption in bone mineralization and the as yet unknown effects on
the central nervous system. In trans girls, early pubertal suppression inhibits penile growth, requiring the
use of alternative sources of tissue grafts for a potential future vaginoplasty. The effect of pubertal
suppression and cross-sex hormones on fertility is not yet known.



6.             Ethical Assessment
Although the ethics analysis did not systematically address the issues pertaining to children and
adolescents, they have been discussed in several areas in the related documents (Preparatory
Memorandum pages 52-62; Appendix 5).

According to the Health Care Act (section 8), healthcare services must be based on evidence and recognized
treatment and operational practices. As far as minors are concerned, there are no medical treatment that can
be considered evidence-based. At the same time, the numbers of minors developing gender dysphoria has
increased. In this situation, it is vital to assure that children and young people are able to talk about their
feelings, and that their feelings are acknowledged. The opportunity to reflect on one’s experience should be
easily accessible through the local health system (i.e., school or student health care, primary care). A young
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person’s feelings should not be interpreted as immediately requiring specialized medical examinations or
treatments.

In cases of children and adolescents, ethical issues are concerned with the natural process of adolescent
identity development, and the possibility that medical interventions may interfere with this process. It has
been suggested that hormone therapy (e.g., pubertal suppression) alters the course of gender identity
development; i.e., it may consolidate a gender identity that would have otherwise changed in some of the
treated adolescents. The reliability of the existing studies with no control groups is highly uncertain, and
because of this uncertainty, no decisions should be made that can permanently alter a still-maturing
minor’s mental and physical development.

From the point of view of patient advocacy groups, halting puberty is providing young people with a period
of reflection, rather than consolidating their gender identity. This is based on the premise that halting the
development of one’s permanent sex characteristics will improve the minor’s social interactions, while
allowing more time for diagnostic evaluations. Additionally, patient advocacy groups assert that early
intervention with hormonal treatments will lead to improved outcomes for the patients who do eventually
pursue gender reassignment. Professionals, for their part, consider it important to ensure that irreversible
interventions, which may also have significant adverse effects, both physical and mental, are only
performed on individuals who are able to understand the permanence of the changes and the potential for
harm, and who are unlikely to regret such interventions. It is not known how the hormonal suppression of
puberty affects young people’s judgement and decision-making.

The Act on the Status and Rights of Patients (1992/785) states that the patient shall be provided with
information about his/her state of health, the significance of the treatment, various alternative forms of
treatment and their effects, and about other factors concerning treatment that have an effect on
treatment decision-making. In a situation where a minor’s identification with the opposite sex causes long-
term and severe dysphoria, it is important to make sure that he/she understands the realistic potential of
gender reassignment treatments to alter secondary sex characteristics, the reality of a lifelong commitment
to medical therapy, the permanence of the effects, and the possible physical and mental adverse effects of
the treatments. Although patients may experience regret, after reassignment treatments, there is no going
back to the non-reassigned body and its normal functions. Brain development continues until early
adulthood – about age 25, which also affects young people’s ability to assess the consequences of their
decisions on their own future selves for rest of their lives.

A lack of recognition of comorbid psychiatric disorders common among gender-dysphoric adolescents can
also be detrimental. Since reduction of psychiatric symptoms cannot be achieved with hormonal and
surgical interventions, it is not a valid justification for gender reassignment. A young person’s identity and
personality development must be stable so that they can genuinely face and discuss their gender dysphoria,
the significance of their own feelings, and the need for various treatment options.
For children and adolescents, these factors are key reasons for postponing any interventions until
adulthood.
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    7. Conclusions

The first-line intervention for gender variance during childhood and adolescent years is psychosocial
support and, as necessary, gender-explorative therapy and treatment for comorbid psychiatric disorders.
Uncertainty related to gender identity should be dealt with according to the severity of symptoms and the
need for treatment and should be handled at the school / student health care, primary health care at the
local level, or in specialty care.

In adolescents, psychiatric disorders and developmental difficulties may predispose a young person to the
onset of gender dysphoria. These young people should receive treatment for their mental and behavioral
health issues, and their mental health must be stable prior to the determination of their gender identity.

Clinical experience reveals that autistic spectrum disorders (ASD) are overrepresented among adolescents
suffering from gender dysphoria; even if such adolescents are presenting with gender dysphoria,
rehabilitative interventions for ASD must be properly addressed.

In light of available evidence, gender reassignment of minors is an experimental practice. Based on studies
examining gender identity in minors, hormonal interventions may be considered before reaching adulthood
in those with firmly established transgender identities, but it must be done with a great deal of caution, and
no irreversible treatment should be initiated. Information about the potential harms of hormone therapies
is accumulating slowly and is not systematically reported. It is critical to obtain information on the benefits
and risks of these treatments in rigorous research settings.

At a minimum, a consultation for a pre- pubescent child at the specialist setting at the TAYS includes an
extensive assessment appointment costing EUR 369. If necessary, a day-long outpatient consultation can be
arranged, costing EUR 1,408.

The consultation and assessment process for minors at the specialist settings of TAYS or HUS costs EUR
4,300. If it is determined that this process would be untimely, the minimum cost is EUR 640. An initial
assessment / consultation by phone costs EUR 100.

The planning and monitoring costs for pubertal suppression are EUR 2,000 for the first year, and EUR 1,200
for subsequent years. The costs for the planning and monitoring of hormone treatments are a minimum of
EUR 400 per year.

These costs do not take into account the additional costs of psychosocial support provided in the local level,
the possible need for psychiatric treatment, or hormone treatment medication costs.
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    8. Summary of the Recommendations

PALKO / COHERE maintains the following:

    1. For the treatment of gender dysphoria due to variations in gender identity in minors, psychosocial
       support should be provided in school and student healthcare and in primary healthcare, and there
       must be sufficient competency to provide such support.
    2. Consultation with a child or youth psychiatrist and the necessary psychiatric treatment and
       psychotherapy should be arranged locally according to the level of treatment needed.
    3. If a child or young person experiencing gender-related anxiety has other simultaneous psychiatric
       symptoms requiring specialised medical care, treatment according to the nature and severity of the
       disorder must be arranged within the services of their own region, as no conclusions can be drawn on
       the stability of gender identity during the period of disorder caused by a psychiatric illness with
       symptoms that hamper development.


PALKO / COHERE considers that the consultation, periods of assessment, and treatments by the research
group on the gender identity of minors at TAYS or HUS must be carried out according to the following
principles:

1. Children who have not started puberty and are experiencing persistent, severe anxiety related to gender
   conflict and/or identification as the other sex may be sent for a consultation visit to the research group on
   the gender identity of minors at TAYS or HUS. Any need for support beyond the consultation visit or need
   for other psychiatric treatment should be addressed by local services according to the nature and severity
   of the problem.

2. If a child is diagnosed prior to the onset of puberty with a persistent experience of identifying as the other
   sex and shows symptoms of gender-related anxiety, which increases in severity in puberty, the child can be
   guided at the onset of puberty to the research group on the gender identity of minors at TAYS or HUS for an
   assessment of the need for treatment to suppress puberty. Based on these assessments, puberty
   suppression treatment may be initiated on a case-by-case basis after careful consideration and appropriate
   diagnostic examinations if the medical indications for the treatment are present and there are no
   contraindications. Therapeutic amenorrhea, i.e. prevention of menstruation, is also medically possible.

3. A young person who has already undergone puberty can be sent to the research clinic on the gender
   identity of minors at TAYS or HUS for extensive gender identity studies if the variation in gender identity
   and related dysphoria do not reflect the temporary search for identity typical of the development stage of
   adolescence and do not subside once the young person has had the opportunity to reflect on their identity
   but rather their identity and personality development appear to be stable.


4. Based on thorough, case-by-case consideration, the initiation of hormonal interventions that alter sex
   characteristics may be considered before the person is 18 years of age only if it can be ascertained that
   their identity as the other sex is of a permanent nature and causes severe dysphoria. In addition, it must be
   confirmed that the young person is able to understand the significance of irreversible treatments and the
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    benefits and disadvantages associated with lifelong hormone therapy, and that no contraindications are
    present.

5. If a young person experiencing gender-related anxiety has experienced or is simultaneously experiencing
   psychiatric symptoms requiring specialized medical care, a gender identity assessment may be considered if
   the need for it continues after the other psychiatric symptoms have ceased and adolescent development is
   progressing normally. In this case, a young person can be sent by the specialized youth psychiatric care in
   their region for an extensive gender identity study by the TAYS or HUS research group on the gender
   identity of minors, which will begin the diagnostic studies. Based on the results of the studies, the need for
   and timeliness of medically justified treatments will be assessed individually.


Surgical treatments are not part of the treatment methods for dysphoria caused by gender-related conflicts in
minors. The initiation and monitoring of hormonal treatments must be centralized at the research clinics on
gender identity at HUS and TAYS.


    9. Additional Evidence Gathering and Monitoring the Effectiveness of
       Recommendations

Moving forward, the following information must be obtained about the patients diagnosed and receiving
treatments in Finland before re-evaluating these recommendations:

        -      Number of new patient referrals
        -      Number of patients starting the assessment period, and numbers of new transgender (
        F64.0) vs “other gender” (F64.8) diagnoses
        -      Whether the diagnosis remains stable or changes during the assessment phase
        -      Number of patients discontinuing the assessment period and the reasons for the
        discontinuation
        -      Adverse effects of treatments (especially long-term effects and effect on fertility)
        -      Number of patients regretting hormone therapy
        -      Analysis of the effects of the assessment and the treatment period on gender dysphoria
        outcomes, as measured by the Gender Congruence and Life Satisfaction Scale (GCLS)
        -      Analysis of the effects of the assessment and the treatment period on functional capacity
        and quality of life
        -      The prevalence of co-occurring psychiatric diagnoses (especially neurodevelopmental
        diagnoses F80-F90) among those diagnosed with / seeking treatment for gender dysphoria, and
        whether the presence of these co-occurring diagnoses impacts the ability to achieve the desired
        outcome (e.g. decreased dysphoria) in the assessment or the treatment phase.
        -      Whether the assessment and treatment periods lead to a reduction of suicide attempts
        -      Whether the assessment and treatment periods lead to a reduction in depression and
        distress
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10.          Appendices


Preparatory Memorandum, with Appendices 1-5.
